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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION


  S.USA LIFE INSURANCE COMPANY,
   INC.,

                               Plaintiff;
                                                            Case No. ________________
                                                                     7:18CV628
       v.

  ALEXIS CUGINI,

                               Defendant.


                                               COMPLAINT

         Plaintiff S.USA Life Insurance Company, Inc. (“S.USA Life”), complains of

Defendant Alexis Cugini (“Cugini”) as follows:

                                            Nature of the Action

         1.       This is a breach-of-contract action arising from Cugini’s failure to repay

S.USA Life for commission chargebacks as required under the parties’ General Agent

Contract (“Contract”). (A true copy of the Contract with personal identifiers redacted

is attached as Exhibit A.)

                                                  Parties

         2.       S.USA Life is a corporation organized and existing under the laws of

Arizona, with its statutory home office at 815 North 1st Avenue, Phoenix, Arizona

85003; and its principal executive office at 460 W. 34th Street, Suite 800, New York,




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New York 10001.                S.USA Life is thus a citizen of Arizona and New York for

jurisdictional purposes.

         3.       Cugini is a natural person who is domiciled at 11109 N.W. 39th St., Apt.

303, Sunrise, Florida 33351-7568. She is thus a citizen of Florida for jurisdictional

purposes.

                                      Jurisdiction and Venue

         4.       This Court has subject-matter jurisdiction over this action under 28

U.S.C. § 1332(a), because the amount in controversy exceeds $75,000, exclusive of

interest and costs, and because S.USA Life and Cugini are citizens of different States.

         5.       Under the Contract, Cugini agreed to submit herself to the jurisdiction

of this Court. This Court thus has personal jurisdiction over her.

         6.       Under the Contract, Cugini agreed to venue in this Court. Venue is thus

proper in this Court.

                                               Facts

         7.       S.USA Life is in the business of selling insurance policies.

         8.       Cugini is, or at all times relevant was, an independent insurance agent.

         9.       On or around November 6, 2017, S.USA Life and Cugini entered into the

Contract.       Under the Contract, S.USA Life agreed to appoint Cugini to solicit

applications for its insurance policies and to pay her commissions on the insurance

policies she sold, subject to certain terms and conditions.

         10.      In accordance with the Contract, S.USA Life would pay Cugini a

commission when an application for an insurance policy was received by the company.



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This commission included an “advance” of a certain portion of the commission that

would be coming due for the first year of the insurance policy. But if the insurance

policy was later rescinded, processed as “not taken,” or terminated within the first

year, then S.USA Life would assess Cugini with a commission chargeback for all or

part of the commission it paid her on the insurance policy, including overpayment of

any part of the commission that had been advanced.

         11.      Under the Contract, if commission chargebacks assessed to Cugini were

not offset by commissions due or to become due to her, then she agreed to repay the

commission chargebacks to S.USA Life within 30 days of receiving written notice

demanding repayment from the company.              And if Cugini did not repay the

commission chargebacks within those 30 days, then she agreed to pay all costs of

collection, including attorney’s fees, as well as 12% interest on the total amount due

to the company.

         12.      On November 14, 2018, S.USA Life sent Cugini written notice

terminating the Contract and demanding repayment of the commission chargebacks

assessed to her within 30 days. (A true copy of the written notice is attached as

Exhibit B.) More than 30 days have passed since S.USA Life sent that written notice,

and Cugini has failed to repay the full amount of the commission chargebacks, as

required under the Contract.

         13.      As of the date of this Complaint, Cugini owes S.USA Life a total of

$357,644.36 in commission chargebacks.




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         14.      Even though S.USA Life has terminated the Contract, Cugini’s

obligation to repay the commission chargebacks, together with all costs of collection

and 12% interest on the total amount due, survives.

         15.      The Contract is governed by and is to be construed in accordance with

Virginia law.

                               Count I – Breach of Contract

         16.      S.USA Life realleges and incorporates the allegations set forth above in

paragraphs 1–15.

         17.      S.USA Life and Cugini mutually assented to the Contract, which is

supported by adequate consideration. The Contract is thus valid and enforceable

under Virginia law.

         18.      S.USA Life fully performed under the Contract by (among other things)

timely paying Cugini all commissions she was owed for the insurance policies she sold

for the company.

         19.      But some of the insurance policies for which Cugini was paid

commissions by S.USA Life were later rescinded, processed as “not taken,” or

terminated within the first year. As a result, S.USA Life assessed Cugini with

commission chargebacks for those policies. Under the Contract, Cugini must repay

those commission chargebacks within 30 days of receiving written notice demanding

repayment from S.USA Life.

         20.      On November 14, 2018, S.USA Life sent Cugini written notice

demanding that she repay the commission chargebacks assessed to her, in accordance



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with the Contract. More than 30 days have passed since S.USA Life sent that written

notice, and Cugini has failed to repay the commission chargebacks, which as of the

date of this Complaint total $357,644.36.

         21.      By failing to repay the commission chargebacks to S.USA Life, Cugini

has breached the Contract.

         22.      As a result of Cugini’s breach of the Contract, S.USA Life has sustained

damages totaling at least $357,644.36.

                               Count II – Unjust Enrichment

         23.      S.USA Life realleges and incorporates the allegations set forth above in

paragraphs 1–15.

         24.      By paying Cugini commissions on insurance policies that were later

rescinded, processed as “not taken,” or terminated within the first year, S.USA Life

conferred a benefit on her.

         25.      Cugini knew of the benefit and should have reasonably expected to pay

S.USA Life for it.

         26.      Cugini accepted the benefit without paying for its value.

         27.      By accepting the benefit without paying for its value, Cugini has been

unjustly enriched. That enrichment equals at least the value of the outstanding

commission chargebacks—$357,644.36.

                                      Prayer for Relief

         Based on the foregoing allegations, S.USA Life prays for judgment against

Cugini as follows:



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         A.       For money damages in the amount of at least $357,644.36, reflecting the

total amount owed in commission chargebacks as of the date of judgment;

         B.       For pre- and post-judgment interest at 12%;

         C.       For attorney’s fees and costs of this action; and

         D.       For such other and further relief as this Court may deem just and

proper.

                                        Jury Demand

         S.USA Life demands a trial by jury.

Dated: December 17, 2018                           S.USA LIFE INSURANCE
                                                     COMPANY, INC.

                                                   By: /s/Justin E. Simmons
                                                         Of Counsel

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